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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            DEL RIO DIVISION
UNITED STATES OF AMERICA                        §
                                                §      CRIMINAL NO:
vs.                                             §      DR:20-CR-01286(1)-AM
                                                §
(1) DONALD RAY LOCKARD                          §

               ORDER SETTING /REARRAIGNMENT/ PLEA
       IT IS HEREBY ORDERED that the above entitled and numbered case is set for
/REARRAIGNMENT/ PLEA in Courtroom 1, on the 2nd floor, U.S. Courthouse, 111 E.
Broadway, Del Rio, TX, on Monday, April 12, 2021 at 02:00 PM.

       IT IS FURTHER ORDERED that the Clerk of Court shall send a copy of this order to
counsel for defendant, the United States Attorney, United States Pretrial Services and the United
States Probation Office. Counsel for the defendant shall notify the defendant of this setting and,
if the defendant is on bond, advise the defendant to be present at this proceeding.

        IT IS SO ORDERED this 4th day of February, 2021.




                                                ______________________________
                                                ALIA MOSES
                                                UNITED STATES DISTRICT JUDGE
